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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-08786-CJC (KK)                                             Date   February 8, 2022
 Title
                   Shelly Hart v. The State Bar of California, et al.




 Present: The Honorable           KENLY KIYA KATO, UNITED STATES MAGISTRATE JUDGE
                      Donnisha Brown                                                 N/A
                        Deputy Clerk                                       Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:


 Proceedings:                 (IN CHAMBERS) ORDER

      On January 14, 2022, defendants The State Bar of California, Steve Mazer,
William Todd, Jason Kwan, Tiffany F. Sorensen, Susan Kim, and Drew Aresca
(“Defendants”) filed a Motion to Dismiss the Complaint. Dkt. 10. Defendants set a
hearing for February 24, 2022. Id. On January 27, 2022, plaintiff Shelly Hart filed an
Opposition. Dkt. 11. On February 7, Defendants filed a Reply. Dkt. 12. The Court finds
the motion appropriate for decision without oral argument. Hence, the February 24, 2022
hearing is hereby VACATED, and the matter is taken under submission.




                                                           Initials of Preparer                dsb




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